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                     IN THE UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                 :

            v.                           :        CRIMINAL NO. 15-415

LEAFORD GEORGE CAMERON                   :



                              ENTRY OF APPEARANCE

     Kindly enter my appearance on behalf of the United States of America.


                                         WILLIAM M. MCSWAIN
                                         UNITED STATES ATTORNEY


                                         s/Mary E. Crawley
                                         MARY E. CRAWLEY
                                         Assistant United States Attorney
